






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00127-CR







Bryan Ross, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 167TH JUDICIAL DISTRICT


NO. 971801, HONORABLE MICHAEL F. LYNCH, JUDGE PRESIDING







In 1998, appellant Bryan Ross was convicted of aggravated assault following his plea
of guilty and placed on community supervision.  In February 2002, the district court revoked Ross's
supervision on the State's motion and imposed sentence of imprisonment for three years.  Ross, who
was represented by retained counsel at the revocation hearing, appealed pro se.

A reporter's record was not requested and, after Ross was given notice and an
opportunity to cure, the appeal was submitted for decision without a reporter's record.  See Tex. R.
App. P. 37.3(c)(1).  Ross did not file a brief or respond to this Court's notices.  See Tex. R. App. P.
38.8(b)(4).  We have examined the record before us and find no fundamental error that should be
considered in the interest of justice.


The order revoking community supervision is affirmed.



				__________________________________________

				Bea Ann Smith, Justice

Before Chief Justice Aboussie, Justices B. A. Smith and Yeakel

Affirmed

Filed:   August 8, 2002

Do Not Publish


